Case 1:11-cv-21948-MGC Document 8 Entered on FLSD Docket 06/15/2011 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 11-21948-Civ-COOKE/TURNOFF

KENNETH DOWNER, et al.,

       Plaintiffs
vs.

ROYAL CARIBBEAN CRUISES, LTD.,

      Defendant.
_________________________________/

                               ORDER DISMISSING PLAINTIFF

       THIS MATTER is before me on Plaintiff Norris Anthony Brown’s Notice of Voluntary

Dismissal of Norris Anthony Brown’s Claims without Prejudice (ECF No. 6), in which Plaintiff

Brown notifies me that he is voluntarily dismissing his claims against Defendant Royal Caribbean

Cruises, Ltd. Accordingly, it is ORDERED and ADJUDGED that:

       1. Plaintiff Norris Anthony Brown is DISMISSED from this case without prejudice.

       2. The Clerk shall administratively TERMINATE Plaintiff Norris Anthony Brown from

           this case.

       3. The caption of this case shall hereafter be styled as:

           KENNETH DOWNER, et al.,

           Plaintiffs
           vs.

           ROYAL CARIBBEAN CRUISES, LTD.,

           Defendant.
           _________________________________/


       DONE and ORDERED in chambers at Miami, Florida, this 15TH day of June 2011.
Case 1:11-cv-21948-MGC Document 8 Entered on FLSD Docket 06/15/2011 Page 2 of 2




Copies furnished to:
William C. Turnoff, U.S. Magistrate Judge
Counsel of record
